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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 ALTICE USA, INC., ET AL.                      §
                                               §
 v.                                            §         Case No. 2:24-MC-0012-JRG-RSP
                                               §
 OPSEC ONLINE LLC                              §

 ALTICE USA, INC., ET AL.                      §
                                               §
 v.                                            §
                                                         Case No. 2:24-MC-0013-JRG-RSP
                                               §
 RECORDING INDSUTRY ASSOCIATION                §
 OF AMERICA                                    §

                                  Motions Hearing
                         MAG. JUDGE ROY PAYNE PRESIDING
                                 December 16, 2024
 OPEN: 1:35 pm                                       ADJOURN: 2:11 pm

 ATTORNEYS FOR PLAINTIFF:                          Mike Elkin
                                                   Krishnan Padmanabhan
                                                   Diana Leiden
                                                   Claire Henry

 ATTORNEY FOR DEFENDANTS:                          Tim Reynolds

 LAW CLERK:                                        Greg Saltz

 COURT REPORTER:                                   Ed Reed

 COURTROOM DEPUTY:                                 Becky Andrews

 Court opened. Case called. Claire Henry introduced co-counsel and announced ready. Tim
 Reynolds introduced himself and announced ready.

 Krishnan Padmanabhan argued Plaintiff’s Motion to Compel (Dkt. No. 1). Tim Reynolds
 responded. The Court GRANTED the motion for the reasons orally assigned. He instructed the
 parties that the depositions are to be limited to declarations made in 2:24mc12 and RFP 14. The
 deposition shall be limited to 4 hours total, unless translations are required.
